                             UNITED STATES BANKRUPTCY COURT
                               EASTERN DISTRICT OF MICHIGAN
                                    SOUTHERN DIVISION

In re:
                                                               Case No. 11-58953
MICHAEL E. McINERNEY,
                                                               Chapter 7

                Debtor.                                        Judge Thomas J. Tucker
                                               /

GENE R. KOHUT, TRUSTEE,

                Plaintiff,

vs.                                                            Adv. Pro. No. 13-5292

ACKERMAN & ACKERMAN P.C., et al.,

                Defendants.
                                               /

                                         TRIAL OPINION

I. Introduction

         Because of several orders previously filed, all counts and claims in the Plaintiff’s

Complaint in this adversary proceeding (Docket # 1) have been resolved. The only claim that is

not yet resolved is the counterclaim filed by Defendant Ackerman & Ackerman, P.C. (the

“Ackerman Firm”)(Docket # 68, the “Counterclaim”). The Court held a bench trial on the

Counterclaim on April 28, 2015, and took it under advisement.

         The Court has considered all of the arguments of the parties; all of the exhibits admitted

into evidence at trial, namely Plaintiff’s Exhibits 1, 3, 4, 5, and 6 and Defendant’s Exhibit B; and

all of the testimony of the trial witnesses, namely Darius Dynkowski, Alan Ackerman, and Gene

Kohut. This opinion constitutes the Court’s findings of fact and conclusions of law regarding the




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Counterclaim.

        For the reasons stated in this opinion, the Court will enter judgment for the Defendant

Ackerman Firm on the Counterclaim in the amount of $324,023.49.

II. Jurisdiction

        This Court has subject matter jurisdiction over this adversary proceeding under 28 U.S.C.

§§ 1334(b), 157(a) and 157(b)(1), and Local Rule 83.50(a) (E.D. Mich.). This is a core

proceeding under 28 U.S.C. §§ 157(b)(2)(A), 157(b)(2)(B), and 157(b)(2)(O).

III. Background and facts

        Initially, the Court incorporates by reference into this opinion, as part of its findings of

fact, all of the facts stipulated to by the parties in the Final Pretrial Order.1 Next, the Court

adopts and finds as fact the following things, which the Court stated in its December 24, 2014

opinion filed in the main case:2

                The state law action (the “Becker Action”) was filed by McInerney
                in 2009, against Charles E. Becker and Becker Ventures, LLC (the
                “Becker Parties”) in the Oakland County, Michigan Circuit Court.
                McInerney sought damages in excess of $9 million, based on
                claims of breach of contract; breach of fiduciary duty; unjust
                enrichment; and promissory estoppel. The suit arose out of two
                written agreements and an alleged oral agreement entered into
                between McInerney and the Becker Parties. This Court described
                and discussed the Becker Action at length in its first settlement
                opinion in this case. See [In re McInerney, 499 B.R. 574, 576-80,
                584-97 (Bankr. E.D. Mich. 2013).]



        1
          Final Pretrial Order (Docket # 76, the “Final Pretrial Order”) at 3-5, Section 4 (“Stipulation of
Facts and Law”), “Uncontested Facts,” nos. 1-25.
        2
          Opinion Regarding the Chapter 7 Trustee’s Motion for Approval of Settlement with the
Ackerman Defendants, filed December 24, 2014 (Docket # 679 in Case No. 11-58953), at 6-9. This
opinion is reported in Westlaw at 2014 WL 7365869.

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                  Before McInerney filed his voluntary petition in this
          bankruptcy case on July 12, 2011, under Chapter 11, he had been
          represented initially in the Becker Action by the Bush Seyferth
          firm. That firm had represented McInerney on an hourly-rate basis.
          After that firm withdrew, McInerney was represented by the
          Ackerman Firm. The Ackerman Firm was retained under a
          contingency-fee agreement with McInerney. Under that agreement,
          the parties agreed that the Ackerman Firm would be paid a fee
          “from the proceeds of the recoveries” from the claims against the
          Becker Parties, “a fee of 33-1/3 % of all monies recovered.” In
          addition, McInerney agreed “to pay and reimburse to the law firm
          all costs, disbursements, and expenses incurred or deemed
          necessary by the law firm in handling the client’s case.”

                  By the time McInerney filed his Chapter 11 bankruptcy
          case, the state trial court in the Becker Action had granted
          summary disposition in favor of the Becker Parties on McInerney’s
          claims, and had denied a motion for reconsideration filed by
          McInerney. And McInerney had appealed those decisions to the
          Michigan Court of Appeals. While that appeal was pending, but
          before briefs were filed in the Michigan Court of Appeals,
          McInerney filed his Chapter 11 case.

                  As debtor-in-possession in the Chapter 11 case, McInerney
          filed a motion seeking approval to employ the Ackerman Firm, to
          continue representing him in the Becker Action. Objections were
          filed, and the Court held a hearing and ultimately granted
          McInerney’s motion, with modifications. In its Order filed
          November 9, 2011, this Court approved McInerney’s employment
          of the Ackerman Firm as special counsel, on the same contingency-
          fee basis as in the pre-petition Contingent Fee Retainer Agreement.

                 While this bankruptcy case was in Chapter 11, the
          Ackerman Firm did substantial work, including the filing of
          extensive briefs in the Michigan Court of Appeals.

                  McInerney failed to obtain confirmation of a Chapter 11
          plan, and on November 2, 2012, the Court converted this case to
          Chapter 7.

                 After the conversion, the Chapter 7 Trustee chose not to
          employ the Ackerman Firm to represent him in prosecuting the
          Becker Action. Thus, the Ackerman Firm’s representation of the


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               bankruptcy estate in the Becker Action was terminated.

                        At the time of the conversion to Chapter 7 and the
               termination of the Ackerman Firm’s employment as counsel in
               connection with the Becker Action, the status of that state court
               action was that McInerney’s appeal had been fully briefed in the
               Michigan Court of Appeals, and was awaiting an oral argument
               date. The Chapter 7 Trustee and his counsel did no substantive
               work on the case in the Michigan Court of Appeals. Basically their
               only work on the matter in that court was to seek and obtain
               several delays by the Michigan Court of Appeals in setting any oral
               argument date, pending the outcome of the Trustee’s efforts to
               settle the case and obtain bankruptcy court approval of the
               settlement.

                       The Chapter 7 Trustee and his counsel (Wolfson Bolton
               PLLC) investigated and evaluated the claims against the Becker
               Parties, and negotiated and sought approval of an initial proposed
               settlement that was denied by the Court, and a second, higher
               settlement that was approved by this Court.

                        On March 11, 2013, the Chapter 7 Trustee filed a motion
               seeking approval to compromise, on behalf of the bankruptcy
               estate, the Becker Action, for $250,000. Several creditors
               objected, including the Ackerman Firm, and the Court ultimately
               denied the Trustee’s settlement motion as unreasonably low. The
               Court’s opinion and the related order were filed on October 17,
               2013. (The Court’s opinion is published as In re McInerney, 499
               B.R. 574 (Bankr. E.D. Mich. 2013).)

                       The Trustee then negotiated a higher settlement with the
               Becker Parties, this time in the amount of $1 million. The Trustee
               moved for approval of that higher settlement on November 13,
               2013. Several creditors objected to that motion, including the
               Ackerman Firm, but the Court approved that higher settlement, in
               an opinion and related order filed August 7, 2014. (The Court’s
               opinion regarding the second settlement motion is reported as In re
               McInerney, 516 B.R. 171 (Bankr. E.D. Mich. 2014).) The Becker
               Parties then paid the $1 million settlement amount to the
               bankruptcy estate.

(footnotes containing record citations omitted).



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       The Court makes additional findings in the next section of this opinion.

IV. Discussion

       As the Court discussed in its December 24, 2014 opinion, and as the parties to the

Counterclaim agree, the Ackerman Firm has an enforceable common law charging lien, under

Michigan law, against the $1 million Becker settlement proceeds that the McInerney bankruptcy

estate received. This common law charging lien secures the payment of the attorney fee and

expense reimbursement that the Court finds the Ackerman Firm is entitled to for its work on the

Becker lawsuit.

       In the Final Pretrial Order3 and at trial, the Plaintiff Trustee and the Defendant Ackerman

Firm have agreed that the total of the expenses incurred by the Ackerman Firm in working on the

Becker matter is $34,319.25. The parties agree, and the Court now concludes, that the Defendant

Ackerman Firm is entitled to reimbursement of expenses in this amount.

       The issue remaining is what attorney fee amount the Ackerman Firm is entitled to for its

work on the Becker matter. The Court discussed in detail the law applicable to this issue at pp.

10-15 of its December 24, 2014 opinion. The Court adopts that discussion now, and incorporates

it into this opinion by reference.

       The Plaintiff Trustee and the Defendant Ackerman Firm agreed at trial, in effect, to the

following. Because the cash value of the Becker settlement is $1 million, and because the

reimbursable expenses incurred by the Ackerman Firm in working on the Becker matter total

$34,319.25, the 1/3 contingent fee that the Ackerman Firm would be entitled to under its retainer

agreement (Defendant’s Exhibit B), would be $321,893.60, that is, if the Court were to find that


       3
           See Final Pretrial Order at 5, stipulation no. 24.

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100% of the bankruptcy estate’s recovery of the $1 million Becker settlement amount is

attributable to the Ackerman Firm, as compared to successor counsel.4

        The Court agrees with the foregoing. The remaining dispute between the parties is what

percentage of the bankruptcy estate’s $1 million recovery is attributable to the Ackerman Firm’s

work on the Becker matter, before the November 2, 2012 conversion of the McInerney case to

Chapter 7, when the Ackerman Firm’s retention as counsel on the Becker matter terminated. At

trial, the Ackerman Firm argued that its percentage is 100%; but the Plaintiff Trustee argued that

the Ackerman Firm’s percentage is no more than 15%.

        In its December 24, 2014 opinion, at pp. 13-15, this Court described the applicable law as

follows:

                        More recently, in the 2013 case of Island Lake Arbors
                Condominium Assn. v. Meisner & Associates, P.C., the Michigan
                Court of Appeals refined the quantum meruit analysis to be
                applied, at least in the case like this one, where the terminated
                attorney represented a party in a non-personal injury case on a
                contingency fee basis. The attorney in Meisner represented the
                plaintiff in a civil action against a condominium developer/builder.
                The fee agreement provided the attorney with a “reduced hourly
                rate supplemented by a 12 percent contingency fee, which would
                be calculated based on the cash value of any judgment or
                settlement reached with [the Defendant].” 837 N.W. 2d at 440.
                The attorney provided legal services for about 18 months before

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         In so agreeing at trial, the parties adopted the method that the Court found to be correct in its
December 14, 2014 opinion, for calculating the Ackerman Firm’s contractual 1/3 contingent fee amount.
As the Court calculated it:

                The net recovery from the settlement is $1 million minus expenses of
                $34,319.25, which equals $965,680.80. One-third of that amount is
                $321,893.60, which when added to the expenses, means a total of fee
                and expenses of $356,212.85 ($321,893.60 + $34,319.25 expenses =
                $356,212.85).

(December 24, 2014 Opinion at 17.)

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          the client terminated the attorney and retained new counsel. Id.
          The client had paid the attorney the agreed, reduced hourly-rate
          portion of his fee, but later, the client filed a declaratory judgment
          action, asserting that it owed the attorney no additional legal fees
          for the contingency part of the retainer agreement, from any
          recovery on the claim against the defendant in the civil action.

                  The Michigan Court of Appeals held that the attorney was
          entitled to a contingency fee for the contingency part of the
          agreement, based on “the quantum meruit approach described in”
          prior cases including Morris. Id. at 445. Among other things, the
          Court in Meisner adopted the following rule:

                 In this case of first impression, we hold that the
                 quantum meruit recovery of a discharged attorney is
                 capped by the contingency-fee percentage set forth
                 in the contract, applied to the amount of the
                 recovery attributable to the attorney’s work.

          837 N.W. 2d at 446.

                   While the passage just quoted from Meisner refers to the
          calculation — “the contingency- fee percentage set forth in the
          contract, applied to the amount of the recovery attributable to the
          attorney’s work” — as a cap on the attorney’s quantum meruit
          recovery, Meisner then applied that calculation as the appropriate
          quantum meruit fee; not just the cap on such fee. The court held
          that in this context, the attorney’s quantum meruit fee is not to be
          calculated by multiplying the number of hours worked by a
          reasonable hourly rate. Rather, the method of calculation is for the
          fact finder to determine what portion of the cash value of the
          settlement is attributable to the attorney’s work, and apply the
          contractual contingency-fee percentage to that amount. The Court
          of Appeals explained this as follows:

                 On remand, the fact finder must determine how
                 much money Meisner is owed. The Reynolds Court
                 instructed, "[Q]uantum meruit is generally
                 determined by simply multiplying the number of
                 hours worked by a reasonable hourly fee." Reynolds,
                 222 Mich.App. at 28, 564 N.W.2d 467. However,
                 the Reynolds Court then specifically referred to the
                 portions of Morris and Plunkett directing that the


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                      contractual terms must also govern reasonable
                      compensation for services rendered. In this case, as
                      in Morris, those terms included a contingency
                      arrangement. Thus, we emphasize that it would be
                      inappropriate to calculate Meisner's quantum
                      meruit recovery on the basis of the number of
                      hours worked multiplied by a reasonable hourly
                      fee. In their contract, the parties deliberately
                      spurned an arrangement based solely on an hourly
                      fee, and instead agreed that if it completed the work,
                      Meisner would share a percentage of the recovery.
                      Since Meisner's hourly fees have been paid, the
                      remaining fact to be determined is the portion of the
                      ultimate recovery attributable to Meisner's
                      contribution.

                              After the cash value of the settlement has
                      been determined according to the method set
                      forth in Meisner's contract with [the client], the
                      fact finder must consider and compare the
                      contributions to that recovery made by both
                      Meisner and successor counsel. Once that
                      determination has been made, Meisner is entitled
                      to 12 percent of the recovery attributable to
                      Meisner. This method comports with the meaning
                      of quantum meruit:” ‘as much as deserved.’” . . . It
                      also compensates Meisner according to the “actual
                      deal struck between the client and the attorney[.]”
                      Reynolds 222 Mich.App. at 30, 564 N.W.2d 467.
                      The bargained-for-value percentage memorialized
                      in the contract governs Meisner's recovery, which
                      flows from Meisner's contribution to the outcome.

               837 N.W. 2d at 448-49 (citations omitted; emphasis added).

       Applicable Michigan law, therefore, requires this Court to determine what percentage of

the $1 million cash value obtained from the Becker settlement was attributable to the work of the

Ackerman Firm, compared to the percentage attributable to the work of counsel who succeeded

the Ackerman Firm. That successor counsel was the Chapter 7 Trustee’s attorneys, the Wolfson



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Bolton firm. To make this percentage determination, in the words of the Meisner court quoted

above, the Court “must consider and compare the contributions to [the settlement] recovery made

by both” the Ackerman Firm “and successor counsel,” the Wolfson Bolton firm.

       The evidence at trial proved that the Wolfson Bolton firm, as attorneys for the Chapter 7

Trustee, did not participate in any of the negotiations with Becker that led to the $1 million

settlement. Gene Kohut, the Chapter 7 Trustee, personally conducted all such settlement

negotiations with the Becker side. While Mr. Kohut is an attorney, the evidence at trial shows

that Mr. Kohut was acting only in his capacity as Trustee in conducting the settlement

negotiations with Becker. He was not acting as an attorney for the Trustee (i.e., as attorney for

himself). So the Court does not consider that Mr. Kohut was a successor counsel to the

Ackerman Firm for purposes of its Meisner analysis; rather, only Wolfson Bolton was such a

successor counsel. Thus, while Mr. Kohut as Trustee himself contributed to the bankruptcy

estate ultimately obtaining the $1 million settlement, his contribution is not relevant under the

Meisner method of calculating a quantum meruit attorney fee. The contribution of the client —

here the Plaintiff Trustee — toward obtaining a settlement does not factor into the Meisner

analysis. What matters is the relative contributions of the terminated contingent-fee attorney

(here the Ackerman Firm) and the successor attorney (here the Trustee’s attorney, the Wolfson

Bolton firm).

       In its October 17, 2013 opinion, which rejected the Trustee’s initial proposed settlement

with Becker of $250,000,5 the Court described the history of the work done by the Ackerman



       5
           That opinion is filed at Docket # 545 in the main case (11-58953), and is reported at 499 B.R.
574.

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Firm on the Becker litigation before its termination as counsel. And in that opinion the Court

discussed in detail the claims and issues raised and preserved for appeal by the Ackerman Firm.

The Court found that absent a settlement, the bankruptcy estate had a strong chance of prevailing

it the pending appeal against Becker, and at a minimum, forcing a trial on the claim against

Becker. The Court was persuaded of this, in large part, by the appeal briefs prepared and filed by

the Ackerman Firm in the Michigan Court of Appeals. The Court’s decision to deny approval of

the Trustee’s proposed $250,000 settlement with Becker, and its opinion explaining why such

settlement amount was unreasonably low, led directly to the $1 million settlement that the

Trustee was then able to negotiate with Becker, which the Court ultimately approved.

        In short, the Court finds that the work of the Ackerman Firm on the Becker litigation was

extremely important in enabling the Chapter 7 Trustee ultimately to obtain the $1 million

settlement from Becker.

        The work of successor counsel, the Wolfson Bolton firm, did also contribute to the $1

million settlement. It did so not by any litigation work on the Becker matter — no such work

was done by Wolfson Bolton or anyone else after the Ackerman Firm’s termination as counsel.

Rather, the Court finds that Wolfson Bolton materially contributed as successor counsel in the

following way (and only in this way): by preparing, filing, and successfully prosecuting, in the

face of objections by several creditors (including the Ackerman Firm), the Trustee’s motion for

approval of the $1 million settlement with Becker.6 That contribution by Wolfson Bolton means


        6
           The Trustee, Gene Kohut, testified at trial that he consulted with his counsel from the Wolfson
Bolton firm about the estate’s claim(s) against Becker, before he negotiated the initial, $250,000
settlement with Becker, and that he also consulted with his counsel about the Court’s rejection of that
initial proposed settlement, before he negotiated the $1 million settlement. But Mr. Kohut’s testimony
was very general about this. The Court cannot find from the evidence that the Wolfson Bolton attorneys

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that the $1 million obtained by the bankruptcy estate was, in part, attributable to the work of

Wolfson Bolton, as successor counsel.7

        In determining relative percentages in this context, of course, there is no way to calculate

the percentages with any sort of scientific certainty or mathematical precision. But Michigan

law, and in particular the Meisner case, requires the Court to make a determination of the

percentages. Based on all of the evidence presented, and all of the relevant circumstances, the

Court finds the following. As between the Ackerman Firm and the Wolfson Bolton firm

(successor counsel), the bankruptcy estate’s $1 million cash value obtained from the Becker

settlement is attributable 90% to Ackerman Firm and 10% to the Wolfson Bolton firm (successor

counsel).8

         Under Meisner, therefore, the Ackerman Firm is entitled to a quantum-meruit based fee

calculated as follows: The net recovery from the settlement is $1 million minus expenses of


materially contributed to the ultimate $1 million settlement by their unspecified work in advising the
Trustee about the claim against Becker.

         The Trustee notes that the Wolfson Bolton attorney also arranged to obtain delays from the
Michigan Court of Appeals in setting an oral argument date on the pending appeal in the Becker
litigation. The purpose of this was to delay appellate oral argument while the Trustee tried to settle the
Becker claim. But it is not clear whether this delay contributed to the ultimate $1 million settlement or
not. The Court cannot find from the evidence that it did; this is only speculative at best.
        7
           The Ackerman Firm argued at trial that the Court should disregard the work of the Wolfson
Bolton firm in preparing and prosecuting the settlement motion that led to the Court’s approval of the $1
million settlement. Defendant argued that this was bankruptcy-administration work of the type that
occurs in many bankruptcy cases, and that it should be viewed as having little or nothing to do with
obtaining the $1 million settlement. The Court rejects Defendant’s argument. Approval of the $1
million settlement, over the objections of several creditors, was a necessary and integral step in the
bankruptcy estate’s obtaining the $1 million from the settlement. Nothing in Meisner or in any other
authority that the Court is aware of supports Defendant’s argument.
        8
          The Court notes for the record that the Wolfson Bolton firm is not working for the Chapter 7
Trustee on a contingent fee basis. The Court also notes that Trustee’s counsel has not filed any fee
applications to date in the Chapter 7 bankruptcy case.

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$34,319.25, which equals $965,680.80. Ninety percent of that amount is $869,112.72. One-third

of that amount, in turn, is $289,704.24. That is the fee that must be paid by the bankruptcy estate

to the Ackerman Firm. When added to the expenses, that means that the bankruptcy estate must

pay the Ackerman Firm a total of fee and expenses of $324,023.49 ($289,704.24 + $34,319.25

expenses = $324,023.49). This is the allowed amount of the Ackerman Firm’s secured claim

against the estate’s $1 million Becker settlement proceeds, based on the Ackerman Firm’s

common law charging lien.

V. Conclusion

       For the reasons stated in this opinion, the Court will enter judgment for the Defendant

Ackerman Firm on its Counterclaim in the amount of $324,023.49. Each party will bear his/its

own costs.


Signed on May 1, 2015                                /s/ Thomas J. Tucker
                                                     Thomas J. Tucker
                                                     United States Bankruptcy Judge




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